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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 AMERICAN FOREIGN SERVICE
 ASSOCIATION, et al.,                                 Case No. 1:25-cv-00352 (CJN)

                Plaintiffs,

         v.

 PRESIDENT DONALD J. TRUMP, et al.,

                Defendants.


    AMICI FORMER SENIOR NATIONAL SECURITY OFFICIALS’ UNOPPOSED
    MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Amici Curiae (“Amici”) are a bipartisan coalition of former senior national security

officials with decades of experience in United States foreign assistance and deep knowledge of the

role that USAID plays in promoting America’s national security. Amici respectfully request leave,

pursuant to United States District Court for the District of Columbia Local Rule 7(o), to file a brief

in support of Plaintiffs’ Motion for Summary Judgment (Dkt. Entry 51). Amici’s proposed brief

will assist the Court in understanding the critical role that USAID plays in protecting our country’s

national security, and the urgent risks to national security posed by USAID’s abrupt end. As
required by Local Rule 7(o), Amici have conferred with the parties to obtain their position

regarding the filing of this brief. Plaintiffs consent to Amici’s Motion For Leave To File, and

Defendants do not oppose the Motion. The proposed Amici Curiae brief is attached as Exhibit A.

A proposed order granting the motion is attached as Exhibit B.

       Amici are Former Secretary of Defense Charles Hagel, Former Secretary of Defense

William Perry, Former Director of the Central Intelligence Agency Michael Hayden, Former U.S.

Representative Howard Berman, Former Principal Deputy National Security Advisor to the Vice

President Eric Edelman, Former Deputy Secretary of State for Management and Resources Brian

McKeon, Former Deputy Secretary of State Wendy Sherman, Former Deputy Secretary General


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of NATO Alexander Vershbow, Former USAID Administrator Gayle Smith, Former Assistant

Secretary of State for South and Central Asia Richard Boucher, Former Ambassador and Deputy

to the United Nations A. Peter Burleigh, Former Director General of the Foreign Service Ruth

Davis, Former Director of U.S. Foreign Assistance, Department of State Robert Goldberg, Former

Ambassador to Tunisia Gordon Gray, Former Director of U.S. Foreign Assistance, Department of

State Richard Greene, Former Chairman of the National Intelligence Council Robert Hutchings,

Former Chairman of the National Intelligence Council Chris Kojm, Former National Security

Advisor to the Vice President Nancy McEldowney, Former Ambassador to Israel Daniel Shapiro,
Former Special Envoy for Climate Change, Department of State Todd Stern, Former Ambassador

to Zimbabwe and to the Philippines Harry Thomas Jr., and Former Ambassador to Haiti Pamela

White. All Amici have dedicated their careers to protecting our national security through their

high-ranking roles in, among other things, presidential cabinets, at executive agencies, in

Congress, and in the military.

       District courts have “inherent authority” to grant participation by amici curiae. Jin v.

Ministry of State Sec., 557 F. Supp. 2d 131, 136 (D.D.C. 2008). In determining whether to grant

leave to participate as amici, this Court has “broad discretion.” Nat’l Ass’n of Home Builders v.

U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93 (D.D.C. 2007). Participation by amici curiae is

generally allowed when “the information offered is ‘timely and useful.’” Ellsworth Assocs., Inc. v.

United States, 917 F. Supp. 841, 846 (D.D.C. 1996). The “filing of an amicus brief should be

permitted if it will assist the judge ‘by presenting ideas, arguments, theories, insights, facts or data

that are not to be found in the parties’ briefs.” Commonwealth of the Northern Mariana Islands v.

United States, No. 08-1572 (PLF), 2009 WL 596986, at *1 (D.D.C. Mar. 6, 2009) (quoting Voices

for Choices v. Ill. Bell Tel. Co., 339 F.3d 542, 545 (7th Cir. 2003)). Courts generally permit third

parties to participate as amici curiae when they have “relevant expertise and a stated concern for

the issues at stake in [the] case[.]” District of Columbia v. Potomac Elec. Power Co., 826 F. Supp.

2d 227, 237 (D.D.C. 2011).




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       The proposed Amici Curiae brief plainly satisfies these standards.1 Plaintiffs’ Motion for

Summary Judgment does not address the national security consequences of a USAID shutdown

(cf. Dkt. Entry 51-1 at 8-9; 28-32), a topic which provides necessary context for this action and

should inform the Court’s assessment of whether the decision to dismantle USAID was arbitrary

and capricious (see Dkt. Entry 51-1 at 32). The brief also provides further background regarding

the legislative branch and executive branches’ respective roles creating and shaping USAID, which

is relevant to the separation of powers concerns at issue in this lawsuit. Amici’s brief is informed

by their distinguished careers which span decades, administrations, and agencies; their bipartisan

ranks include two former Secretaries of Defense and four-star general who served in multiple

cabinet positions, including as Director of the National Security Agency. These officials offer

insights into the Administration’s action that are uniquely well informed and worthy of the Court’s

consideration.

       More specifically, their experience has given them specialized and deep knowledge and

understanding of the interplay between foreign aid and national security and USAID’s critical role

in making the United States a stronger and safer country. They explain the original national security

rationale that featured in the original formation of USAID. They also explain how USAID has

been successful in this role, helping to protect America from threats of war and disease for over

sixty years through its programs. The sudden end of USAID, as Amici explain, threatens to destroy

that progress and leave the United States vulnerable to, among other things, terrorist groups, threats
by hostile world powers who will fill the void, and diseases that will more easily reach our borders.

The brief also explains that the chaotic and rushed way in which Defendants have carried out the



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 This Court’s local rules do not specify the time for filing of amicus briefs, providing that they
“shall be filed within such time as the Court may allow.” Local Rule 7(o)(3). This proposed
brief is being submitted within seven days of the filing of Plaintiffs’ Motion for Summary
Judgment, which is within the deadline provided in the relevant appellate rule governing amicus
briefs. See Fed. R. App. P. 29(a)(6) (“An amicus curiae must file its brief, accompanied by a
motion for filing when necessary, no later than 7 days after the principal brief of the party being
supported is filed.”).


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near-total elimination of USAID creates serious challenges for its vetting capabilities and

undermines this country’s credibility, to the detriment of our national security.

         For all of these reasons, Amici respectfully request that the Court grant their motion for

leave to file the proposed amici curiae brief in support of Plaintiffs’ Motion for Summary

Judgment.




Dated: March 17, 2025                                Respectfully submitted,


                                                     /s/ Alexis Loeb
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